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                         IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA                               )
                                                       )
        v                                              )   CR. NO. 2:00cr126-ID
                                                       )
GONZALO MURILLO, JR.                                   )

                 RECOMMENDATION OF THE MAGISTRATE JUDGE

        On August 14, 2006, pro se defendant (“Murillo”) filed a motion for the return of

seized property. He specifically requests that firearms seized by law enforcement officers

from his residence in California be returned to his brother in accordance with the agreement

with the prosecutor as stated at the change of plea and sentencing hearing on August 19,

2002.

                                              DISCUSSION

        “A person aggrieved by an unlawful search or seizure of property or by the

deprivation of property may move for the property’s return. The motion must be filed in the

district where the property was seized.” F ED. R. C RIM. P. 41(g). It appears from the

transcript of the hearing on August 19, 2002, that the firearms were seized by law

enforcement officers in Los Angeles, California, which is located in the Central District of

California. Accordingly, it appears that this court lacks jurisdiction to consider Murillo’s

motion.1 See Clymore v. United States, 217 F.3d 370 (5 th Cir. 2000) (noting that the district

        1
         Cf. United States v. Parlavecchio, 57 Fed. Appx. 917 (3rd Cir. 2003) (holding that, under
former FED . R. CRIM . P. 41(e), the district court ‘s jurisdiction to consider the motion was ancillary to the
underlying criminal proceedings and subject matter jurisdiction rested upon the court’s supervisory
                                                                                              (continued...)
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where the property was seized is the appropriate district in which to file a motion for return

of seized property).

        However, “[f]or the convenience of parties and witnesses, [and] in the interest of

justice, a district court may transfer any civil action to any other district . . . where it might

have been brought.” 28 U.S.C. § 1404(a). A motion for return of seized property filed

pursuant to F ED. R. C RIM. P. 41(g) (former Rule 41(e)) is considered to be a civil proceeding

for equitable relief. See United States v. Potes Ramirez, 260 F.3d 1310 (11 th Cir. 2001).

Under the circumstances of this case, as outlined herein, the court concludes that the motion

for return of seized property (Doc. # 597) should be transferred to the United States District

Court for the Central District of California for determination.

                                           CONCLUSION

        Accordingly, it is the RECOMMENDATION of the Magistrate Judge that the motion

for return of seized property be transferred to the United States District Court for the Central

District of California. It is further

        ORDERED that the parties shall file any objections to the said Recommendation on

or before September 26, 2006. Any objections filed must specifically identify the findings

in the Magistrate Judge’s Recommendation to which the party objects. Frivolous, conclusive

or general objections will not be considered by the District Court. The parties are advised




        1
            (...continued)
authority over those ancillary proceedings).

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that this Recommendation is not a final order of the court and, therefore, it is not appealable.

       Failure to file written objections to the proposed findings and recommendations in the

Magistrate Judge's report shall bar the party from a de novo determination by the District

Court of issues covered in the report and shall bar the party from attacking on appeal factual

findings in the report accepted or adopted by the District Court except upon grounds of plain

error or manifest injustice. Nettles v. Wainwright, 677 F.2d 404 (5 th Cir. 1982). See Stein

v. Reynolds Securities, Inc., 667 F.2d 33 (11 th Cir. 1982). See also Bonner v. City of

Prichard, 661 F.2d 1206 (11 th Cir. 1981, en banc), adopting as binding precedent all of the

decisions of the former Fifth Circuit handed down prior to the close of business on

September 30, 1981.

       Done this 12 th day of September, 2006.




                                         /s/Charles S. Coody
                                    CHARLES S. COODY
                                    CHIEF UNITED STATES MAGISTRATE JUDGE




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